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  9                        UNITED STATES DISTRICT COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
 11
      ABS-CBN CORPORATION, a                  Case No.: 2:20-CV-01338-CBM
 12
      Philippines Corporation, ABS-CBN        Judge: Consuelo B. Marshall
 13   FILM PRODUCTIONS, INC. d/b/a
 14   STAR CINEMA, a Philippines
      Corporation, and ABS-CBN                CONSENT FINAL JUDGMENT AND
 15   INTERNATIONAL, a California             PERMANENT INJUNCTION [JS-6]
 16   Corporation

 17               Plaintiff,
 18        v.                                 Complaint Filed: February 10, 2020
                                              Trial: Not Set
 19 ROMULA ARANETA CASTILLO
 20 a/k/a JON CASTILLO, an Individual,
 21               Defendant.
 22
 23 CONSENT FINAL JUDGMENT AND PERMANENT INJUNCTION
 24        THIS CAUSE came before the Court upon stipulation of Plaintiffs ABS-
 25 CBN Corporation, ABS-CBN Film Productions, Inc. d/b/a Star Cinema, and ABS-
 26 CBN International (“Plaintiffs”) and Defendant Romula Araneta Castillo a/k/a Jon
 27 Castillo, an Individual (“Defendant”), through their counsel of record, for entry of a
 28 Consent Final Judgment and Permanent Injunction (the “Stipulation”). The Court,

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         CONSENT FINAL JUDGMENT AND PERMANENT INJUNCTION
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  1 having reviewed the Stipulation, and good cause appearing therefor, orders, decrees,
  2 and enters judgment as follows:
  3        WHEREAS, Plaintiffs allege that Defendant engaged in the importation,
  4 modification, promotion, distribution, offers for sale, and/or sale of unauthorized
  5 equipment designed to access ABS-CBN’s protected communications and
  6 circumvent ABS-CBN’s technological access control measures, ultimately allowing
  7 the free viewing of ABS-CBN’s copyrighted content (the “Pirate Equipment”);
  8        WHEREAS, the parties desire to resolve this action and have agreed to
  9 resolve this dispute in conformance with the entry of this Consent Judgment and
 10 Permanent Injunction;
 11        Accordingly, the Court hereby ORDERS AND ADJUDGES as follows:
 12        1.     Final Judgment is entered in favor of Plaintiffs and against Defendant
 13 on all Counts of the Complaint.
 14        2.     Defendant and his officers, agents, servants, employees and attorneys,
 15 and all persons in active concert and participation with them are hereby permanently
 16 restrained and enjoined from:
 17               A.    Manufacturing, modifying, trafficking in, possessing, importing,
 18                     advertising or promoting, distributing, selling, or offering to sell
 19                     any illegal equipment or devices which perform and/or distribute
 20                     ABS-CBN’s copyrighted content without authorization from
 21                     ABS-CBN;
 22               B.    Interfering with ABS-CBN’s propriety rights to its copyrighted
 23                     content and distribution services;
 24               C.    Intercepting, receiving, divulging, publishing, and/or displaying
 25                     ABS-CBN’s copyrighted content without prior written consent
 26                     of ABS-CBN;
 27               D.    Any unauthorized infringement of ABS-CBN’s intellectual
 28                     property rights, including but not limited to ABS-CBN’s

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         CONSENT FINAL JUDGMENT AND PERMANENT INJUNCTION
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  1                      copyrighted content;
  2               E.     Secreting, destroying, altering, removing, or otherwise dealing
  3                      with the unauthorized equipment and services or any books or
  4                      records which contain any information relating to the importing,
  5                      manufacturing, producing, distributing, circulating, selling,
  6                      marketing, offering for sale, advertising, promoting, renting or
  7                      displaying of all unauthorized services and equipment that
  8                      infringe ABS-CBN’s copyrighted content; and
  9               F.     effecting assignments or transfers, forming new entities or
 10                      associations or utilizing any other equipment or service for the
 11                      purpose of circumventing or otherwise avoiding the prohibitions
 12                      set forth in subparagraphs (A) through (E).
 13         3.    Statutory damages pursuant to 47 U.S.C. § 605:
 14               A.     Award Plaintiffs damages of $500,000.00 against Defendant
 15                      pursuant to 47 U.S.C. § 605.
 16         4.    Plaintiffs shall not record or execute upon this Judgment unless
 17 Defendant defaults upon a material term of the parties’ separately entered Settlement
 18 Agreement.
 19         5.    Due to the circumstances giving rise to the filing of this action against
 20 Defendant, any funds due from Defendant to Plaintiffs in connection with this action
 21 constitutes a non-dischargeable debt under Section 523(a)(6) of the United States
 22 Bankruptcy Code, Title 11 U.S.C. §101, et seq.
 23         6.    Plaintiffs shall have the right to seek sanctions for contempt,
 24 compensatory damages, injunctive relief, attorneys’ fees, costs, and such other relief
 25 deemed proper in the event of a violation or failure by Defendant to comply with
 26 any of the provisions hereof. The prevailing party in any such proceeding shall be
 27 entitled to recover its attorneys’ fees and costs.
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         CONSENT FINAL JUDGMENT AND PERMANENT INJUNCTION
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  1        7.     The parties’ respective attorney’s fees and costs incurred in connection
  2 with this action shall be borne as per the separately executed settlement agreement
  3 of the parties.
  4        8.     This Court will retain continuing jurisdiction over this cause to enforce
  5 the terms of this Consent Final Judgment and Permanent Injunction.
  6        IT IS SO ORDERED, ADJUDGED, AND DECREED on this 19TH day of
  7 OCTOBER , 2020.
  8                                         ________________________________
  9                                         HON. CONSUELO B. MARSHALL
                                            UNITED STATES DISTRICT JUDGE
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         CONSENT FINAL JUDGMENT AND PERMANENT INJUNCTION
